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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-21551-CIV-ALTONAGA/Louis

  In re:

  FARM-RAISED SALMON
  AND SALMON PRODUCTS
  ANTITRUST LITIGATION
  _____________________________/

                                                  ORDER

           THIS CAUSE came before the Court on the Direct Purchaser Plaintiffs’ Unopposed

  Motion for Preliminary Approval of Settlement With All Defendants, 1 Preliminary Certification

  of Settlement Class, and Approval of Class Notice [ECF No. 524], filed on May 25, 2022. Having

  reviewed the Settlement Agreement [ECF No. 524-3], the supporting declarations, and the record,

  it is

           ORDERED AND ADJUDGED that the Direct Purchaser Plaintiffs’ Motion [ECF No.

  524] is GRANTED. All pending deadlines in the case are vacated and replaced by the deadlines

  set forth herein.




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   The Direct Purchaser Plaintiffs are: Euclid Fish Company; Euro USA Inc.; Schneider’s Fish and Sea Food
  Corporation; and The Fishing Line LLC. The Defendants are: Mowi ASA (f/k/a Marine Harvest ASA),
  Mowi USA, LLC (f/k/a Marine Harvest USA, LLC), Mowi Canada West, Inc. (f/k/a Marine Harvest
  Canada, Inc.), and Mowi Ducktrap, LLC (an assumed name of Ducktrap River of Maine, LLC); Grieg
  Seafood ASA, Grieg Seafood BC Ltd., Grieg Seafood North America Inc. (f/k/a Ocean Quality North
  America Inc.), Grieg Seafood USA Inc. (f/k/a Ocean Quality USA Inc.), and Grieg Seafood Premium
  Brands, Inc. (f/k/a Ocean Quality Premium Brands, Inc.); Sjor AS; SalMar ASA; Lerøy Seafood AS and
  Lerøy Seafood USA Inc.; and Cermaq Group AS, Cermaq US LLC, Cermaq Canada Ltd., and Cermaq
  Norway AS. Defendants, collectively with the Direct Purchaser Plaintiffs, are referred to as the “Parties”
  herein.
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                            Preliminary Approval of Settlement Agreement 2

      1. The terms of the Settlement Agreement are preliminarily approved as being fair, reasonable,

          and adequate to the Settlement Class, subject to a fairness hearing. In preliminarily

          approving the Settlement Agreement, upon review of the record, the Court makes the

          following findings:

                a. The Court has jurisdiction over this action and each of the parties to the Settlement

                  Agreement.

                b. The proposed class representative and Class Counsel have adequately represented

                  the Settlement Class.

                c. The Settlement Agreement was entered into at arm’s length by experienced counsel

                  and is sufficiently within the range of reasonableness that notice of the Settlement

                  Agreement should be given to members of the proposed Settlement Class.

                d. The relief provided for the Settlement Class is fair, reasonable, adequate, and in

                  the best interests of the Settlement Class, including taking into account the relevant

                  subfactors.

                e. The Settlement Agreement treats members of the Settlement Class equitably

                  relative to each other.

                f. The parties have also identified all agreements made in connection with the

                  proposal, which in this case are the Settlement Agreement and a separate

                  confidential agreement between the parties regarding the number of opt-outs

                  necessary to give Defendants the option to terminate the Settlement Agreement.

                  The Court has access to that agreement via in camera review and finds it

                  reasonable, fair, and adequate for preliminary approval purposes.

                g. The Bennett factors similarly support the grant of preliminary approval of the

                  Settlement Agreement. See Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir.

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   Terms used in this Order that are defined in the Settlement Agreement are, unless otherwise defined
  herein, used as defined in the Settlement Agreement.
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                 1984). Those factors include (1) “the likelihood of success at trial”; (2) “the range

                 of possible recovery”; (3) “the point on or below the range of possible recovery at

                 which a settlement is fair, adequate and reasonable”; (4) “the complexity, expense

                 and duration of litigation”; (5) “the substance and amount of opposition to the

                 settlement”; and (6) “the stage of proceedings at which the settlement was

                 achieved.” Id. Each of these factors is addressed in the Direct Purchaser Plaintiffs’

                 Motion, and the Court finds them satisfied for purposes of preliminary approval.

                                           Class Certification
     1.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure and in light of the proposed

          settlement, the Court finds that the prerequisites for a class action have been met and

          provisionally certifies the following class for settlement purposes:

                All persons and entities in the United States, their territories, and the District
                of Columbia who purchased farm-raised Atlantic salmon or products derived
                therefrom directly from one or more Defendants from April 10, 2013 until
                the date of Preliminary Approval. Excluded from the Settlement Class are
                the Court and its personnel and any Defendants and their parents,
                subsidiaries, or affiliated companies.

     2. The proposed Settlement Class here satisfies the applicable requirements of Rule 23(a) and

          Rule 23(b)(3) for settlement purposes. The Court finds that provisional certification of the

          Settlement Class is warranted in light of the Settlement Agreement because: (a) the

          Settlement Class is so numerous that joinder is impracticable; (b) the Direct Purchaser

          Plaintiffs’ claims present common issues and are typical of the Settlement Class; (c) the

          Direct Purchaser Plaintiffs and Class Counsel (identified below) will fairly and adequately

          represent the Settlement Class; and (d) common issues predominate over individual issues

          affecting the members of the Settlement Class. The Court further finds that the Direct

          Purchaser Plaintiffs’ interests are aligned with the interests of all other members of the

          Settlement Class. The Court also finds that settlement of this action on a class basis is

          superior to other means of resolving the matter.

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     3.   Provisional certification of the Settlement Class is for settlement purposes only, shall not

          constitute evidence in any other proceeding, and may not be cited in support of the

          certification of any other proposed class.

                       Appointment of Class Representative and Class Counsel

     1. The Court appoints Plaintiff Euclid Fish Company, Euro USA Inc., Schneider’s Fish and

          Sea Food Corporation, and The Fishing Line LLC as class representatives for settlement

          purposes.

     2. The Court appoints the law firms of Podhurst Orseck P.A. and Hausfeld LLP (“Class

          Counsel”) to serve as co-lead settlement Class Counsel for the Settlement Class, having

          determined that the requirements of Rule 23(g) are fully satisfied by these appointments.
                             Notice to Potential Settlement Class Members

     1. The Settlement Class shall receive notice in accordance with the terms of this Order. The

          Court approves the form and content of: (a) the Long Form Notice, attached as Exhibit B

          to the Declaration of Gina Intrepido-Bowden of JND Administration; and (b) the

          Informational Press Release (the “Press Release”), attached as Exhibit C to that

          Declaration. The Court finds that the mailing of the Notice and the Press Release in the

          manner set forth herein constitutes the best notice that is practicable under the

          circumstances, is valid, due, and sufficient notice to all persons entitled thereto and

          complies fully with the requirements of Federal Rule of Civil Procedure 23 and the due

          process requirements of the Constitution of the United States.

     2.   On or before May 31, 2022, JND shall disseminate the Notice.

     3.   On or before June 9, 2022, Class Counsel shall file with the Court an affidavit attesting

          that the Settlement Notice was disseminated as ordered and their motion for an award of

          attorneys’ fees and expenses from the settlement proceeds, and, if permitted under Eleventh

          Circuit law, an incentive payment to the Direct Purchaser Plaintiffs to be paid from the

          Settlement Fund.


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     4.   On or before July 25, 2022, Class Counsel shall file with the Court their motion for: final

          approval of the proposed settlement with Defendants, and approval of a proposed plan of

          distribution of the settlement proceeds from the settlement.

     5.   All requests for exclusion from the Settlement Class must be in writing, postmarked no

          later than July 5, 2022, and must otherwise comply with the requirements set forth in the

          Notice.

     6. Any objection by any member of the Settlement Class to the proposed settlement, or to the

          request for attorneys’ fees and expenses, must be in writing, must be filed with the Clerk

          of Court and postmarked no later than July 5, 2022, and must otherwise comply with the

          instructions set forth in the Notice.

     7.   The Court will hold a Fairness Hearing on September 8, 2022 at 9:00 a.m., at the Wilkie

          D. Ferguson, Jr. United States Courthouse, 400 North Miami Avenue, Room 13-3, Miami,

          Florida 33128 (or such other courtroom as may be assigned for the hearing), to determine

          whether to approve: (1) the proposed settlement; (2) the proposed plan of distribution of

          the Settlement Fund; (3) Class Counsel’s request for an award of attorneys’ fees and

          litigation costs and expenses from the Settlement Fund; and (4) the request for an incentive

          payment to the Direct Purchaser Plaintiffs, to be paid from the Settlement Fund. Any

          Settlement Class member who follows the procedure set forth in the Notice may appear

          and be heard at this hearing. If the Court believes that it is appropriate, the hearing may be

          conducted remotely by telephone or other electronic means. If the Court determines to hold

          the hearing remotely, Class Counsel shall post that information on the website devoted to

          the direct purchaser litigation and provide any class member that has informed the Court

          that it intends to participate the information required to remotely participate. The Fairness

          Hearing may be rescheduled, adjourned or continued, and the courtroom assigned for the

          hearing may be changed, without further notice to the Settlement Class.




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     8. Any Settlement Class member who wishes to participate in the distribution of the settlement

          funds must submit a claim in accordance with the instructions therein, postmarked or

          submitted online on or before September 23, 2022.

     9.   The Court orders Defendants to provide the relevant notices as required by the Class Action

          Fairness Act, 28 U.S.C. § 1711, et seq., to the extent they have not already done so.

     10. In aid of the Court’s jurisdiction to implement and enforce the proposed Settlement, as of

          the date of the entry of this Order, all claims asserted by the Settlement Class against

          Defendants are stayed pending further Order of the Court, and the Direct Purchaser

          Plaintiffs and all members of the Settlement Class shall be preliminarily enjoined from

          commencing or prosecuting any action or other proceeding against Defendants asserting

          any of the Claims released in the Settlement Agreement pending final approval of the

          Settlement Agreement or until such time as the Court lifts such injunction by subsequent

          order.

     11. If the Settlement Agreement is terminated in accordance with its provisions or is not

          approved by the Court or any appellate court, then the Settlement Agreement and all

          proceedings had in connection therewith shall be vacated, and shall be null and void, except

          insofar as expressly provided to the contrary in the Settlement Agreement, and without

          prejudice to the status quo ante rights of the Direct Purchaser Plaintiffs, Defendants, and

          members of the Settlement Class.

     12. If the Settlement Agreement is terminated or is ultimately not approved, the Court will

          modify any existing scheduling order to ensure that the parties will have sufficient time to

          prepare for the resumption of litigation, including but not limited to, class-certification and

          dispositive motion practice, and preparation for trial.

     13. The Clerk is instructed to close this case for administrative purposes, and any pending

          motions are denied as moot. The status conference scheduled for May 31, 2022 is

          cancelled.


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        DONE AND ORDERED in Miami, Florida, this 26th day of May, 2022.



                                        ________________________________________
                                        CECILIA M. ALTONAGA
                                        CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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